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                                     IN THE UNITED STATES DISTRICT COURT

                                         FOR THE DISTRICT OF OREGON

                                             PORTLAND DIVISION



      JOSHUA ROBERT BROWN,                                                           Case No. 3:10-cv-0003-BR

                        Plaintiff,                            MEMORANDUM IN SUPPORT OF
                                                              MOTION FOR SUMMARY JUDGMENT
               v.

     OREGON DEPARTMENT OF
     CORRECTIONS; MAX WILLIAMS, in his
     individual and official capacity; STAN
     CZERNIAK, in his individual and official
     capacity; MICHAEL GOWER, in his
     individual and official capacity; BARBARA
     COONEY, in her individual and official
     capacity; JOAN BARTON; in her individual
     and official capacity; GREG JONES, in his
     individual and official capacity; MARK
     NOOTH, in his individual and official
     capacity; JUDY GILMORE, in her individual
     and official capacity; JACK
     BLANKENBAKER, in his individual and
     official capacity; HEIDI MACKENZIE;
     THERESA HICKS, in her individual and
     official capacity,

                        Defendants.
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                                               INTRODUCTION

               Plaintiff, Joshua Brown, SID # #12607362, filed this suit on January 4, 2010, and

      amended his complaint on October 15,2010. See U.S.D.C. Documents # 2,32. Plaintiff alleges

      Defendants violated his rights under the First Amendment and the Due Process clause of the

      Constitution in two respects: 1) by failing to provide telephone access while he was housed in the

      Intensive Management Unit (IMU), and 2) by housing him in the IMU and failing to provide

      periodic review. See Amended Complaint, U.S.D.C. Document # 32.

               Defendants move this Court for summary judgment pursuant to Fed. R. Civ. Pro. 56.

      Summary judgment should be entered in Defendants' favor as the undisputed facts indicate

      Defendants did not violate Plaintiff s constitutional rights, and Defendants are e.ntitled to

      qualified immunity.

                                                       FACTS

               Pursuant to LR 56.1 (a)(2) and (c), a Concise Statement of Material Facts is filed as a

      separate document and incorporated here by reference.

                                                  ARGUMENT

               I.       Standard of Review

               Summary judgment is appropriate when there are no genuine issues of material fact and

     the moving party is entitled to judgment as a matter oflaw. Fed. R. Civ. P. 56(c). The moving

     party bears the initial burden of demonstrating the absence of any genuine issue of material fact.

      Celotex Corp. v. Catrett, 477 U.S. 317,323, 106 S. Ct. 2548 (1986). Once that burden is

     satisfied, the burden shifts to the non-moving party to "set out specific facts showing a genuine

      issue for trial." Fed. R. Civ. P. 56(e)(2). To defeat summary judgment, the non-moving party

     "must do 'more than simply show that there is some metaphysical doubt as to the material facts."

     Matsushita Electric Industrial Co.} Ltd v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct.

      1348 (1986). Rather, "[w]here the record taken as a whole could not lead a rational trier of fact to

     find for the non-moving party, there is no 'genuine issue for trial.'" Id. at 587. The record is

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      reviewed in the light most favorable to the non-moving party. United States v. Diebold, Inc.) 369

      U.S. 654 (1962).



               II.       Plaintiff has not established a First Amendment violation regarding use of

                         phones in IMU.

               Plaintiff alleges Defendant Nooth violated his rights under the First Amendment where

      he decided not to provide telephones for use by IMU inmates. Plaintiffs complaint alleges that

      the Oregon State Penitentiary (OSP) provides telephones for IMU inmates, and argues that the

      denial of phones is thus not justified or reasonable. See Amended Complaint p. 8. Plaintiffs

      claim fails as a matter of law, as Plaintiff does not have a right to telephone use in the IMU. In

      Valdez v. Rosenbaum, 302 FJd 1039 (9th Cir. 2002), the Ninth Circuit held that an inmate does

      not have aper se First Amendment right to use of a telephone. Valdez, 302 F.3d at 1047-48

      (noting that "the genesis of the purported constitutional right to use a telephone is obscure.").

      Instead, the court "sensibly and expansively define[d] the First Amendment right at issue          * * * as
      the right to communicate with persons outside prison walls." Id. at 1048. See also Barrett v.

      Hill, 2006 WL 698185, 1 (D.Or.) (D.Or. 2005)( plaintiffs ability to "communicate with the
      outside world" is not unconstitutionally restricted where he has use of phones for legal matters

      and emergencies, and where he may purchase envelopes and is allowed a reasonable allowance

      of free postage).

              Inmates in the IMU at SRCI are provided telephone calls for emergency and legal

      reasons, and for other reasons as authorized by the functional unit manager. See Declaration of

      Robert Real,   ~   10. Inmates can also communicate by mail, and indigent inmates are allowed five

      envelopes per month. Id. Plaintiff complains that this provision is insufficient. See Amended

      Complaint, p. 8. Plaintiff alleges that phones are available at OSP, thus any decision not to have

     phones at SRCI is unconstitutional. See Amended Complaint p. 7. Plaintiffs claim lacks merit

     for the reasons above. SRCI did not have phones available for use because such use was not

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      allowed by the administrative rules, and because the unit was not wired for use. See Declaration

      of Robert Real ~ 13. Furthermore, for the information of the Court, although it is not required by

      current case1aw, the administration at SRCI has in fact very recently decided to install telephones

      in the IMU for limited use by inmates of the highest programming level. Id.        ~   14. This is

      intended to be an incentive. Id. Plaintiff does not have a right to more telephone use in the IMU.

      As stated above, Plaintiff s first amendment rights are not unconstitutionally infringed where

      Defendants make forms of communication reasonably available.

              III.    Plaintiff does not have a valid Due Process claim related to the placement in
                      theIMU.

              Plaintiff s Claim II asserts that Defendants violate his rights to Due Process by placing

      him in the IMU without periodic review. 1 Defendants are not required to give plaintiff periodic

      review of his placement in IMU because Plaintiff has no liberty interest in remaining outside of

      IMU housing. A procedural due process claim has three elements: "(1) a liberty or property

      interest protected by the Constitution; (2) a deprivation of the interest by the government; (3)

      lack of process." See Portman v. County ofSanta Clara, 995 F.2d 898, 904 (9th Cir. 1993);

      Hufford v. McEnaney, 249 F.3d 1142, 1150 (9th Cir. 2001). To establish a due process violation,

      plaintiff must first prove a deprivation of a constitutionally protected right. See Logan v.

      Zimmerman Brush Co., 455 U.S. 422,428 (1982).

              Ordinarily, an inmate does not have a liberty interest in having or avoiding a particular

      type of prison housing. Wilkinson v. Austin, 545 U.S. 209, 221-224, 125 S. Ct. 2384, 162

      L. Ed. 2d 174 (2005); see also Serrano v. Francis, 345 F.3d 1071, 1078 (9th Cir. 2003)


     1 Plaintiff does not allege that Defendants violated his rights under the Eighth Amendment
     regarding the conditions ofIMU, but his Amended Complaint describes certain conditions at
     length. To the extent such a claim could be inferred, Defendants prevail as a matter of law, as
     Plaintiff cannot make an "objective" showing of a deprivation serious enough to violate the
     Eighth Amendment, and cannot prove that Defendants had a culpable mental state in the
     imposition of those conditions, i.e. that they know of and disregard an excessive risk to inmate
     health or safety. See Farmer v. Brennan, 511 U.S. 825,837, 114 S. Ct. 1970, 128 L.Ed. 2d 811
     (1994); Johnson v. Lewis, 217 F.3d 726, 731 (9th Cir. 2000).
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      ("Typically, administrative segregation in and of itself does not implicate a protected liberty

      interest."). That is, a transfer from one form of housing to another does not implicate a

      constitutionally-protected liberty interest. fd. at 221. However, if the housing transfer "'imposes

      atypical and significant hardship on the inmate in relation to the ordinary incidents of prison

      life,''' then the inmate does have a liberty interest implicated in the transfer. fd. at 223 (quoting

      Sandin v. Conner, 515 U.S. 472, 484, 115 S. Ct. 2293, 132 L. Ed. 2d 418 (1995)); see also

      Keenan v. Hall, 83 F.3d 1083, 1089 (9th Cir. 1996). Thus, for example, in Sandin, the Supreme

      Court held that no liberty interest was implicated by a decision to place an inmate in disciplinary

      segregation where the conditions in "disciplinary segregation, with insignificant exceptions,

      mirrored those conditions imposed upon inmates in administrative segregation and protective

      custody," and, in fact, did not differ too much from the general population conditions, in light of

      the fact that inmates in general population at the prison at issue served a substantial amount of

      "lockdown time." Sandin, 515 U.S. at 486.

               Plaintiff alleges the conditions of IMU are atypical. The conditions of the IMU at OSP

      have previously been held not to violate the Eighth Amendment right to be free from cruel and

      unusual punishment and not to present conditions that are atypical, thus they do not implicate

      due process considerations. See Rincker v. Oregon Department ofCorrections, et. al., 2007 U.S.

     Dist LEXIS 43216 (D. Or. 2007), aff'd2008 U.S. App. LEXIS 26546 (9th Cir. Or. Nov. 26,

     2008); See also Singh v. Czerniak 2009 WL 464461,5 (D.Or.) (D.Or.,2009). Notably, the

     Rincker court determined that even a four-year confinement to IMU was insufficient to implicate

     due process considerations. fd. at 21-22. See also Johnson v. Kulongoski, 2004 U.S. Dist.

     LEXIS 15571, Civ. No. 03-337-CO (D. Or. Aug. 3,2004) ajJ'd 141 Fed. Appx. 645 (9th Cir.

     2005) (rejecting plaintiff's due process claim regarding assignment to IMU because plaintiff had

     no liberty interest in avoiding assignment). Plaintiff alleges specific conditions are atypical:

     recreation, visiting, phone privileges, canteen availability, personal property restrictions,

     education, group religious services, work opportunities, library access and law library access,

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      behavior modification programs, supervision, availability of tennis shoes, and availability of

      television and music players. See Amended Complaint, p. 9-12. These issues have already been

      evaluated by the Rincker and Singh decisions. 2 The conditions do not trigger due process

      protection.

              Even though placement in the IMU does not trigger a liberty interest, and thus no process

      is due, Defendants did provide periodic review of Plaintiffs Placement in the IMU. See

      Declaration of Robert Real,   ~16-20.   Oregon inmates have a significant amount of control over

      the amount of time they spend in IMU. By maintaining a discipline-free record, and by

      completing required IMU programming, an inmate can work his way out ofIMU, as plaintiff

      did. Id. Plaintiffs assertions that his placement was not reviewed are baseless. Furthermore,

      even if he had not been reviewed, Defendants still prevail as a matter of law because his

      placement did not trigger due process protection.

              IV.     Plaintiff's claims are precluded by a prior state Habeas Corpus action.

              To the extent Plaintiff alleges his placement in the IMU and the conditions of the IMU

      violate his constitutional rights, his action is precluded by a previous state court case for habeas

      corpus relief: Joshua Robert Brown SID #12607362 v. Brian Belleque, Marion County Case No.

      08C21132. See Declaration ofKristin Winges-Yanez, Attachment 1. Judgment in favor of

      Defendant was entered on September 18, 2008. See Id., Attachment 3.

              In the Plaintiff s state habeas corpus action Plaintiff alleges violations of his right under

     the Fourteenth Amendment Due Process and Equal Protection clauses based on his placement in

     and continued housing in the IMU. See Petition for Writ of Habeas Corpus, Declaration of

     Kristin Winges-Yanez, Attachment 1. He alleges the conditions and duration of his placement in

     IMU caused him physical and psychological damage. Id. at 4.


     2To the extent the decisions did not specifically address educational opportunities and work
     opportunities, Defendants provide evidence through the Declaration of Robert Real that the
     Plaintiffs assertions in these respects are incorrect and further that the conditions do not present
     an atypical hardship. See Declaration of Robert Real, ~21-31.
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               The state's law regarding issue preclusion determines the preclusive effect of a state court

      action on a subsequent federal court action. See Dodd v. Hood River County, 136 FJd 1219,

      1225 (9th Cir. 1998). Under Oregon law, issue preclusion applies when five requirements are

      met:

           1. The issue in the two proceedings is identical.

           2. The issue was actually litigated and was essential to a final decision on the merits in the

               prior proceeding.

           3. The party sought to be precluded had a full and fair opportunity to be heard on the issue.

           4. The party sought to be precluded was a party to the prior proceeding (or was in privity

               with a party).

           5. The prior proceeding was the type of proceeding to which the court will give preclusive

               effect.

               Nelson v. Emerald People's Util. Dist., 318 Or. 99, 104,862 P.3d 1293, 1296-97 (1993).

               The Ninth Circuit has determined the preclusive effect of a state habeas corpus judgment.

      In Silverton v. Dept ofTreasury, 644 F.2d 1341 (9th Cir. 1981), the Ninth Circuit held that a

     judgment in a state habeas corpus proceeding precludes "an identical issue from being relitigated

      in a subsequent § 1983 action if the state habeas corpus court afforded a full and fair opportunity

      for the issue to be heard." Id. at 1347. The Silverton court found no reason to give state habeas

      corpus decisions less preclusive effect than other state court decisions. State habeas courts

      should be presumed to apply proper constitutional standards, at least when there is a full and fair

     hearing. Id.

               Plaintiff had a full and fair hearing on his constitutional claims in state court and his state

     habeas action precludes the present § 1983 suit, specifically the claims of violation of due

     process in relation to his placement and housing in the IMU and any potential claims regarding

     the conditions of IMD.



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               V.       Defendants are entitled to qualified immunity.

               Qualified immunity shields government officials from liability for damages when they

      make decisions that, even if constitutionally deficient, reasonably misapprehend the law

      governing the circumstances they confronted. Brosseau v. Haugen, 543 U.S. 194,202 (2004);

      Harlow v. Fitzgerald, 457 U.S. 800 (1982). An official should be denied qualified immunity

      only when "[t]he contours of the right are sufficiently clear that a reasonable official would

      understand that what he is doing violates that right." Anderson v. Creighton, 483 U.S. 635, 640

      (1987). Qualified immunity is immunity from suit, not merely a defense to liability. Mitchell v.

      Forsyth, 472 U.S. 511,526 (1985). Like absolute immunity, qualified immunity is effectively

      lost if a case is erroneously permitted to go to trial. Id. Consequently, the Court has repeatedly

      stressed the importance of resolving immunity questions at the earliest possible stage in

      litigation. See Hunter v. Bryant, 502 U.S. 224,227 (1991) (per curiam); Saucier v. Katz, 533

      U.S. 194,201 (2001).

               To determine whether an individual is entitled to qualified immunity, the first relevant

      inquiry is: did the official violate the Plaintiffs constitutional rights? Saucier, 533 U.S. at 201.

      The second relevant question is: was the law governing that right clearly established? Id. "The

      relevant, dispositive inquiry in determining whether a right is clearly established is whether it

     would be clear to a reasonable officer that his conduct was unlawful in the situation he

     confronted." Id. at 202. The Supreme Court recently clarified that although courts may apply

     these questions in order, courts have the discretion to determine "whether that procedure is

     worthwhile." Pearson v. Callahan, 129 S.Ct. 808,821 (2009). Courts may end the inquiry if

     either question is answered affirmatively. Id.

              As discussed above, Defendants did not violate Plaintiff s constitutional rights, even

     viewing all facts in favor of Plaintiff. Defendants are entitled to qualified immunity on that

     basis. Moreover, even if Plaintiff were able to show that, viewing all facts in his favor,

     Defendants had violated his constitutional rights, Defendants would still be entitled to qualified

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      immunity because it would not be clear to a reasonable officer that the actions taken by

      Defendants were unlawful.

               Even if it is argued that the facts at issue here give rise to a constitutional right, a

      reasonable officer would certainly believe that following well-established ODOC policies and

      administrative rules regarding telephones in the IMU and the placement and review of inmates in

      IMU was legal, especially given the Court's decisions in Barrett, Rincker and Singh. See Neely

      v. Feinstein, 50 F.3d 1502, 1507 (1995). As Defendants followed clearly established law

      regarding the IMU, they are entitled to qualified immunity.

              VI.     Defendant Oregon Department of Corrections should be dismissed under the

                      doctrine of Sovereign Immunity.

              Unless a State has waived its Eleventh Amendment immunity or Congress has overridden

      it, a State cannot be sued directly in federal court regardless of the relief sought. Kentucky v.

      Graham, 473 U.S. 159, 167 (1985). The Eleventh Amendment provides that the judicial power

      of the United States, otherwise defined in Article III, "shall not be construed to extend to any suit

      in law or equity commenced or prosecuted" against a state. It is well established that the

      Eleventh Amendment bars citizens from bringing suit in federal court against a state or state

      agency unless that immunity is waived by the state or abrogated by Congress. Alabama v. Pugh,

      438 U.S. 781, 782 1978) ("There can be no doubt                that suit against the State and its Board of

      Corrections is barred by the Eleventh Amendment                "); Edelman v. Jordan, 415 U.S. 651, 663

      (1974) ("an unconsenting State is immune from suits brought in federal courts by her own

     citizens"). The Oregon Department of Corrections, a state agency, has not consented to suit and

     should be dismissed. The claims against ODOC also fail because it is not a "person" for

     purposes of § 1983, which only permits recovery against persons acting under the color of state

     law. See 42 U.S.C. § 1983; Will v. Michigan Dept. ofState Police, 491 U.S. 58, 70-71 (1989).




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                                            CONCLUSION

           The uncontested material facts before the Court indicate that the Defendants did not

    deprive Plaintiff of his Eighth or Fourteenth Amendment rights. For the reasons stated in this

    Memorandum, Defendants are entitled to summary judgment on all of Plaintiff's claims.

           DATED this Z~day of November, 2010.

                                                        Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

              I certify that on Novembei"92010, I served the foregoing MEMORANDUM IN

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